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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

WILLIAM BEST,

  Plaintiff,                                         CASE NO.:

-vs-

ONEMAIN FINANCIAL GROUP, LLC,
d/b/a ONEMAIN FINANCIAL,

 Defendant.
                                      /

                                           COMPLAINT

       1.      Plaintiff alleges violation of the Telephone Consumer Protection Act, 47 U.S.C.

§227 et seq. (“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. §559.55 et

seq. (“FCCPA”).

                                          INTRODUCTION

       2.      The TCPA was enacted to prevent companies like ONEMAIN FINANCIAL

GROUP, LLC, d/b/a ONEMAIN FINANCIAL from invading American citizens’ privacy and

prevent abusive “robo-calls.”

       3.      “The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, –US--, 132 S.Ct. 740, 745,

181 L.Ed.2d 881 (2012).

       4.      “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the *1256

scourge of modern civilization, they wake us up in the morning; they interrupt our dinner at

night; they force the sick and elderly out of bed; they hound us until we want to rip the telephone

out of the wall.” 137 Cong. Rec. 30, 821 (1991) Senator Hollings presumably intended to give


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telephone subscribers another option: telling the autodialers to simply stop calling.” Osario v.

State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

       5.      According to the Federal Communications Commission (FCC), “Unwanted calls

and texts are the number one complaint to the FCC. There are thousands of complaints to the

FCC every month on both telemarketing and robocalls. The FCC received more than 215,000

TCPA complaints in 2014." https://www.fcc.gov/document/fact-sheet-consumer-protection-

proposal.

                                JURISDICTION AND VENUE

       6.      Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. §1331.

       7.      The alleged violations described herein occurred in Polk County, Florida.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is the

judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.

                                 FACTUAL ALLEGATIONS

       8.      Plaintiff is a natural person, and citizen of the State of Florida, residing in

Davenport, Polk County, Florida.

       9.      Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir. 2014).

       10.     Plaintiff is a “consumer” as defined in Florida Statute 559.55(8).

       11.     Defendant is a corporation which was formed in Delaware doing business in the

State of Florida through its Registered Agent, C T Corporation System, 1200 South Pine Island

Road, Plantation, FL 33324.


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         12.   The debt that is the subject matter of this complaint is a “consumer debt” as

defined by Florida Statute §559.55(6).

         13.   Defendant is a “creditor” as defined in Florida Statute 559.55(5).

         14.   Plaintiff is the regular user and carrier of the cellular telephone number at issue,

(863) 557-9853, and was the called party and recipient of Defendant’s hereinafter described

calls.

         15.   In or about September of 2015, Plaintiff began receiving calls to his

aforementioned cellular telephone from Defendant seeking to recover an alleged debt.

         16.   Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified the calls

were being initiated from, but not limited to, the following phone numbers: (803) 835-4374,

(803) 835-4373, (888) 921-2340, (888) 202-1333, (972) 655-3005, (888) 921-2342, (888) 921-

2340, (863) 291-0809, (941) 201-3800, (727) 546-5360, (727) 861-1211.

         17.   Upon information and belief, each call the Defendant made to the Plaintiff was

made using an “automatic telephone dialing system” which has the capacity to store or produce

telephone numbers to be called, without human intervention, using a random or sequential

number generator; and to dial such numbers as specified by 47 U.S.C §227(a)(1).

         18.   Furthermore, each of the calls at issue were placed by the Defendant using a

“prerecorded voice,” as specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

         19.   None of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. §227(b)(1)(A).

         20.   Defendant attempted to collect a debt from the Plaintiff by this campaign of

telephone calls.




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       21.     In or about November of 2015, due to a ceaseless barrage of calls, Plaintiff

answered a call from the Defendant, met with an automated message stating that the call was

from OneMain Financial, and to please hold to be connected with a live representative, held the

line and was eventually connected to a live agent/representative of Defendant, at which time

Plaintiff informed Defendant that they were calling his cellular phone, the calls were harassing,

and demanded that the Defendant cease placing calls to his aforementioned cellular telephone

number.

       22.     During the aforementioned November of 2015 phone conversation with

Defendant’s agent/representative, Plaintiff expressly revoked any express consent Defendant

may have had for placement of telephone calls to Plaintiff’s aforementioned cellular telephone

number by the use of an automatic telephone dialing system or a pre-recorded or artificial voice.

       23.     Each subsequent call the Defendant made to the Plaintiff’s aforementioned

cellular telephone number was done so without the “express permission” of the Plaintiff.

       24.     Each subsequent call the Defendant made to the Plaintiff’s aforementioned

cellular telephone number was knowing and willful.

       25.     Again in or about December of 2015, due to continued calls to his aforementioned

cellular telephone number from the Defendant, Plaintiff again answered a call from Defendant,

met with an automated message stating that the call was from OneMain Financial and to please

hold to be connected with a live representative, held the line, was eventually connected to a live

agent/representative of Defendant, and informed an agent/representative of Defendant that he

had previously demanded that Defendant cease placing calls to his aforementioned cellular

telephone number, that the calls were driving him crazy, and at which point the Plaintiff again

demanded that Defendant case placing calls to his aforementioned cellular telephone number.


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       26.     Despite actual knowledge of their wrongdoing, the Defendant continued the

campaign of abuse, calling the Plaintiff despite not having his express permission to call his

aforementioned cellular telephone number.

       27.     On at least six (6) separate occasions, Plaintiff has answered a call from

Defendant, held the line to be connected to a live representative, and demanded that Defendant

cease placing calls to her aforementioned cellular telephone number.

       28.     Each of the Plaintiff’s requests for the harassment to end were ignored.

       29.     From about November of 2015 through the filing of this Complaint, Defendant

has placed approximately eight-hundred (800) calls to Plaintiff’s aforementioned cellular

telephone number. (Please see attached Exhibit “A” representing a non-exclusive call log of

one-hundred six (106) calls from November 14, 2015 through February 9, 2016).

       30.     Additionally, On more than one-hundred fifty (150) occasions, Plaintiff received

an automated telephone call to his aforementioned cellular telephone from Defendant, which

including the following pre-recorded or artificial voice message:

           “This is an important message from one Main Financial. Please call our
          office at 1-888-202-1333. As soon as possible so that we may discuss in
          greater detail. Our hours are 8:00 AM to 10:00 PM Eastern Standard Time
          Monday through Friday 8:00 AM till 4:30 PM Eastern Standard Time
          Saturday and 2:00 PM to 6:00 PM Eastern Standard Time Sunday. You may
          also visit us online at www.onemainfinancial.com. It is important that we
          speak to you soon so please call us today. That number again is 1-888-202-
          1333. Thank you.”

       31.     Defendant intentionally harassed and abused Plaintiff on numerous occasions by

calling several times in the same hour, during one day, and on back to back days, with such

frequency as can reasonably be expected to harass.




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        32.     Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice, just as they did to the Plaintiff’s cellular telephone in this case,

with no way for the consumer, or Defendant, to remove the number.

        33.     Defendant’s corporate policy and procedures are structured as to continue to call

individuals like the Plaintiff, despite these individuals revoking any consent the Defendant may

have believed they had.

        34.     Defendant’s corporate policy is structured as to continue to call individuals like

the Plaintiff, despite these individuals demanding that the Defendant stop calling them.

        35.     Defendant has numerous other federal lawsuits pending against them alleging

similar violations as stated in this complaint. The Defendant has been sued in Federal Court over

thirty-six (36) times in the last three (3) years.

        36.     Defendant violated the TCPA with respect to the Plaintiff.

        37.     Defendant willfully and/or knowingly violated the TCPA with respect to the

Plaintiff.

                                              COUNT I
                                       (Violation of the TCPA)

        38.     Plaintiff incorporates Paragraphs one through thirty-seven (37).

        39.     Defendant caused placement of non-emergency telephone calls to Plaintiff’s

cellular telephone using an automatic telephone dialing system or prerecorded or artificial voice

without Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §

227(b)(1)(A)(iii).

        40.     Defendant willfully and knowingly caused placement of non-emergency

telephone calls to Plaintiff’s cellular telephone using an automatic telephone dialing system or



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prerecorded or artificial voice without Plaintiff’s prior express consent in violation of federal

law, including 47 U.S.C § 227(b)(1)(A)(iii).

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, treble damages, actual

damages and any other such relief the court may deem just and proper.

                                            COUNT II
                                    (Violation of the FCCPA)

       41.     Plaintiff incorporates Paragraphs one through thirty-seven (37).

       42.     At all times relevant to this action Defendant is subject to and must abide by the

law of Florida, including Florida Statute § 559.72.

       43.     Defendant has violated Florida Statute §559.72(7) by willfully communicating

with the debtor or any member of her or his family with such frequency as can reasonably be

expected to harass the debtor or her or his family.

       44.     Defendant has violated Florida Statute §559.72(7) by willfully engaging in

conduct which can reasonably be expected to abuse or harass the debtor or any member of her or

his family.

       45.     Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and

continuous sustaining of damages as described by Florida Statute §559.77.

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages, costs,

interest, attorney fees, enjoinder from further violations of these parts and any other such relief

the court may deem just and proper.




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                                  Respectfully Submitted,


                                  s/Octavio Gomez
                                   Octavio “Tav” Gomez, Esquire
                                   FL Bar#: 0338620
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                                   Attorney for Plaintiff




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               Phone Call Log for (863) 557-9853


                  Date                 Time                 Caller
  1.            11/14/2015            11:00 am           (863) 291-0809
  2.            11/14/2015            12:03 pm           (863) 291-0809
  3.            11/14/2015            12:04 pm           (863) 291-0809
  4.            11/17/2015            01:30 pm           (863) 291-0809
  5.            11/17/2015            04:13 pm           (863) 291-0809
  6.            11/17/2015            04:32 pm           (863) 291-0809
  7.            11/17/2015            07:44 pm           (727) 546-5360
  8.            11/19/2015            01:44 pm           (863) 291-0809
  9.            11/24/2015            07:17 pm           (727) 861-1211
  10.           11/25/2015            03:45 pm           (941) 201-3800
  11.           11/27/2015            05:51 pm           (863) 291-0809
  12.           11/30/2015            03:22 pm           (863) 291-0809
  13.           11/30/2015            04:25 pm           (941) 201-3800
  14.           11/30/2015            04:54 pm           (863) 291-0809
  15.           11/30/2015            05:10 pm           (863) 291-0809
  16.           11/30/2015            05:50 pm           (863) 291-0809
  17.           12/01/2015            11:08 pm           (803) 835-4373
  18.           12/01/2015            11:11 am           (803) 835-4373
  19.           12/01/2015            02:02 pm           (803) 835-4373
  20.           12/03/2015            10:03 am           (803) 835-4373
  21.           12/03/2015            01:38 pm           (803) 835-4373
  22.           12/03/2015            01:39 pm           (803) 835-4373
  23.           12/03/2015            03:40 pm           (803) 835-4373
  24.           12/03/2015            06:58 pm           (803) 835-4373
  25.           12/04/2015            09:15 am           (803) 835-4373
  26.           12/04/2015            02:18 pm           (803) 835-4373
  27.           12/04/2015            06:16 pm           (803) 835-4373
  28.           12/04/2015            06:17 pm           (803) 835-4373
  29.           12/04/2015            08:18 pm           (803) 835-4373
  30.           12/05/2015            10:43 am           (803) 835-4373
  31.           12/05/2015            10:44 am           (803) 835-4373
  32.           12/06/2015            10:50 am           (888) 921-2340
  33.           12/06/2015            01:00 pm           (888) 921-2340
  34.           12/06/2015            02:31 pm           (888) 921-2340
  35.           12/06/2015            03:02 pm           (888) 921-2340
  36.           12/06/2015            05:53 pm           (888) 921-2340
  37.           12/06/2015            07:54 pm           (888) 921-2340
  38.           01/11/2016            02:54 pm           (972) 655-3005
  39.           01/11/2016            06:54 pm           (888) 202-1333
  40.           01/13/2016            08:10 am           (972) 665-3005



                                                            EXHIBIT “A”
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                Phone Call Log for (863) 557-9853


   41.           01/13/2016            01:05 pm           (972) 665-3005
   42.           01/14/2016            08:34 am           (972) 665-3005
   43.           01/14/2016            09:50 am           (888) 202-1333
   44.           01/14/2016            02:11 pm           (972) 665-3005
   45.           01/14/2016            07:38 pm           (972) 665-3005
   46.           01/15/2016            08:40 pm           (972) 665-3005
   47.           01/15/2016            03:00 pm           (972) 665-3005
   48.           01/16/2016            09:42 am           (972) 665-3005
   49.           01/18/2016            11:17 am           (972) 665-3005
   50.           01/19/2016            08:35 am           (888) 202-1333
   51.           01/19/2016            05:28 pm           (888) 202-1333
   52.           01/20/2016            08:01 pm           (888) 202-1333
   53.           01/20/2016            12:51 pm           (888) 202-1333
   54.           01/20/2016            06:50 pm           (888) 202-1333
   55.           01/21/2016            08:35 am           (888) 202-1333
   56.           01/21/2016            08:48 am           (888) 202-1333
   57.           01/21/2016            02:14 pm           (888) 202-1333
   58.           01/22/2016            08:36 am           (888) 202-1333
   59.           01/22/2016            02:45 pm           (888) 202-1333
   60.           01/23/2016            08:37 am           (888) 202-1333
   61.           01/23/2016            01:33 pm           (888) 202-1333
   62.           01/24/2016            02:41 pm           (803) 835-4374
   63.           01/25/2016            08:53 am           (803) 835-4374
   64.           01/25/2016            02:54 pm           (803) 835-4374
   65.           01/25/2016            08:11 pm           (803) 835-4374
   66.           01/26/2016            10:48 am           (803) 835-4374
   67.           01/26/2016            02:26 pm           (803) 835-4374
   68.           01/26/2016            07:44 pm           (803) 835-4374
   69.           01/27/2016            08:05 am           (803) 835-4374
   70.           01/27/2016            01:01 pm           (803) 835-4374
   71.           01/27/2016            06:54 pm           (803) 835-4374
   72.           01/28/2016            08:32 am           (803) 835-4374
   73.           01/28/2016            02:06 pm           (803) 835-4374
   74.           01/28/2016            07:34 pm           (803) 835-4374
   75.           01/29/2016            08:35 am           (803) 835-4374
   76.           01/29/2016            09:56 am           (803) 835-4374
   77.           01/29/2016            02:47 pm           (803) 835-4374
   78.           01/30/2016            08:04 am           (803) 835-4374
   79.           01/30/2016            08:10 am           (803) 835-4374
   80.           01/30/2016            12:57 pm           (803) 835-4374
   81.           02/01/2016            08:33 am           (888) 921-2342
   82.           02/02/2016            08:35 am           (888) 921-2342

                                                             EXHIBIT “A”
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                Phone Call Log for (863) 557-9853


   83.           02/02/2016            02:07 am           (888) 921-2342
   84.           02/02/2016            07:32 pm           (888) 921-2342
   85.           02/03/2016            08:11 am           (888) 921-2342
   86.           02/03/2016            01:07 pm           (888) 921-2342
   87.           02/03/2016            03:49 pm           (888) 202/1266
   88.           02/03/2016            04:24 pm           (888) 921-2342
   89.           02/04/2016            08:33 am           (888) 921-2342
   90.           02/04/2016            08:49 am           (888) 921-2342
   91.           02/04/2016            02:12 pm           (888) 921-2342
   92.           02/04/2016            07:43 pm           (888) 921-2342
   93.           02/05/2016            08:36 am           (888) 921-2342
   94.           02/05/2016            09:46 am           (888) 921-2342
   95.           02/05/2016            02:46 pm           (888) 921-2342
   96.           02/05/2016            08:24 am           (888) 921-2342
   97.           02/06/2016            08:24 am           (888) 921-2342
   98.           02/07/2016            02:27 pm           (972) 655-3005
   99.           02/08/2016            08:36 am           (972) 655-3005
 100.            02/08/2016            02:40 pm           (972) 655-3005
 101.            02/08/2016            06:39 pm           (888) 202-1266
 102.            02/08/2016            08:08 pm           (972) 655-3005
 103.            02/09/2016            08:39 am           (972) 655-3005
 104.            02/09/2016            12:38 pm           (888) 202-1266
 105.            02/09/2016            02:20 pm           (972) 655-3005
 106.            02/09/2016            07:40 pm           (972) 655-3005




                                                             EXHIBIT “A”
